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                      Exhibit 1
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From:                              James Jensen <jameslaelj@icloud.com>
Sent:                              Friday, June 20, 2025 11:11 AM
To:                                Jason Davis; Aaron Mauga
Subject:                           Travel to Revere Proffer


Jason,
I informed my deten on oﬃcer here in Utah about my travel plans to Texas for next week. He responded by asking me
for some type of schedule and veriﬁca on for my travels. Here is what I am planning;

June 23rd- Travel on American Airlines to Harlingen, Depart 12:10am, Arrive 3:50 pm.

June 24th - A end Reverse Proﬀer Mee ng.

June 25th- Mee ngs with Defense Council.

June 26th- Schedule review and inspec on of remaining assets at the Arroyo Terminal, Rio Hondo.

June 27th- Follow-up mee ng with Defense Council and mee ng with accountant on personal taxes.

June 28th - 30th - Dive a personal vehicle back to Utah, for arrival by June 30th.

This is my schedule for next week, which I have provided to Aaron Magua.
Can you conﬁrm by an aﬃrma ve text
(385 218-1633) or email.
Thanks,
James

Sent from my iPhone




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